      Case 1:20-cv-03010-APM          Document 1201         Filed 03/28/25      Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                     AMENDED ORDER

       Based on the parties’ Joint Status Report, ECF No. 1196, and Apple’s Response,

ECF No. 1197, the court orders the following with regard to further proceedings in this matter:

       The court adopts the process proposed by the parties in Part I.A.1.a (Redactions Prior to

the Evidentiary Hearing) and Part I.A.1.c (Presentations and Examinations). The court reserves

ruling as to Part I.A.1.b (Confidentiality Designations During the Evidentiary Hearing) pending

resolution of the New York Times Company’s Motion for Access to Judicial Records and

Proceedings, ECF No. 1192.

       Any amicus affidavit(s) that the court has granted leave to file, with the exception of Eddy

Cue’s, shall be due by April 21, 2025, and shall be no more than 10 pages, double-spaced.
       Case 1:20-cv-03010-APM                 Document 1201             Filed 03/28/25         Page 2 of 2




If Mr. Cue is not called to testify at the Evidentiary Hearing, the court shall set a separate deadline

for his affidavit.

          Each side may introduce no more than 300 exhibits. That limitation shall not apply to:

(1) exhibits admitted during the liability trial; (2) exhibits introduced during a deposition;

(3) contracts; (4) data files; (5) written discovery responses; and (6) documents for which Google

employee Heather Adkins is a custodian. 1

          Each side shall file their opening post-hearing submissions by May 16, 2025, and their

responsive post-hearing submissions by May 23, 2025.

          The parties’ post-hearing submissions shall adhere to the following page limits, double-

spaced:

             Proposed Findings of Fact                                                     250 pages

             Combined Brief & Proposed Conclusions of Law                                  75 pages

             Responsive Proposed Findings of Fact                                          75 pages

             Combined Brief & Responsive Proposed Conclusions of Law 25 pages

          Per the court’s Order of March 11, 2025, ECF No. 1186, any amicus brief(s) that the court

has granted leave to file shall be due by May 9, 2025, and shall be no more than 20 pages, double-

spaced.

          By April 14, 2025, the parties shall submit to chambers summaries of the reports of

experts who are expected to testify, each of which shall be no more than 15 pages, double-spaced.




Dated: March 28, 2025                                                 Amit P. Mehta
                                                                United States District Judge


1
 Given that the deadline to exchange exhibit lists is March 28, 2025, the parties may stipulate to an extension of that
deadline, or, in the event an agreement cannot be reached, seek leave of court.


                                                          2
